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UNITED STATES DISTRICT COURT                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 10/14/2020
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 UNITED STATES OF AMERICA,                                    :
                                                              :
                              -v-                             :         1:20-cr-69-GHW
                                                              :
 ERNEST WASHINGTON, and                                       :              ORDER
 DUANE DANIELS,                                               :
                                                              :
                                            Defendants. :
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GREGORY H. WOODS, United States District Judge:

        Upon the application of ERNEST WASHINGTON, by and through his attorney,

AVRAHAM MOSKOWITZ, and with the consent of DUANE DANIELS, by and through his

attorney, STEVEN LYNCH, and the United States of America, by and through AUDREY

STRAUSS, Acting United States Attorney for the Southern District of New York, THOMAS JOHN

WRIGHT, Assistant United States Attorney, of counsel, it is hereby ORDERED that the pretrial

conference in this case is continued from October 14, 2020 to December 14, 2020 at 11:00 a.m.

        The Court finds that the ends of justice served by granting a continuance outweigh the best

interests of the public and the defendants in a speedy trial because it will permit the parties to

continue to discuss a pretrial resolution of this matter and permit the defendants and their counsel

to receive and review discovery. Accordingly, it is further ORDERED that the time from the date

of this order through December 14, 2020 is hereby excluded under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7)(A).

        SO ORDERED.

Dated: October 14, 2020
New York, New York                                           __________________________________
                                                                     GREGORY H. WOODS
                                                                    United States District Judge
